Case 1:18-cr-00602-WHP Document 50 Filed 12/11/19 Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

Xx
UNITED STATES OF AMERICA,
Plaintiff, NOTICE OF MOTION
“V.- 18-cr-602 (WHP)
18-cr-850 (WHP)
MICHAEL COHEN,
Defendant.
XxX
SIRS:

PLEASE TAKE NOTICE that, upon the annexed Affirmation of
MICHAEL COHEN dated the 10% day of December, 20109, the Affirmation of
LANNY DAVIS dated the 26 day of November, 2019, the Affirmation of
MICHAEL MONICO dated the 9* day of December, 2019, the Affirmation of
ROGER BENNET ADLER dated the 10% day of December, 2019, a copy of the
Judgment and Commitment order, the sentence minutes, and all of the
proceedings heretofore had herein, the undersigned will move in the United
States District Court for the Southern District of New York, located at 500 Pearl
Street in Courtroom 20B before Judge WILLIAM H. PAULEY on a date and time
to be designated by the Court for an order pursuant to Rule 35(b) of the Federal
Rules of Criminal Procedure for an order:
(1) Reducing the Court’s previously imposed 36 month term of
imprisonment, or, in the alternative, reducing it to a term of
home confinement, coupled with a “community service”

component,
Case 1:18-cr-00602-WHP Document 50 Filed 12/11/19 Page 2 of 2

(2) Ordering a hearing to explore, evaluate, and quantify the
cooperation which Defendant MICHAEL COHEN provided

to the United States Government,

(3) Granting such other and further relief as the Court deems

just and proper.

Dated: New York, New York
December 11, 2019
Yours, etc.,

Msdr— CAL

Roger Bennet Adler, Esq.
Attorney for Defendant
233 Broadway, Suite 2340
New York, New York 10279
(212) 406-0181

To:

Via ECF

Assistant U.S. Attorney Thomas McKay
c/o United States Attorney’s Office

One St. Andrews Plaza

New York, New York 10007

Via 15st Class Mail

Mr. Michael D. Cohen
Inmate # 86067-054

c/o Otisville Camp

P.O. Box 1000

Otisville, New York 10963

Via email
Lanny J. Davis, Esq.
Michael Monico, Esq.
